Case 1:19-cv-00622-CCC Document 1-6 Filed 04/10/19 Page 1 of 7




                                                        Exhibit E, Page 1
Case 1:19-cv-00622-CCC Document 1-6 Filed 04/10/19 Page 2 of 7




                                                        Exhibit E, Page 2
Case 1:19-cv-00622-CCC Document 1-6 Filed 04/10/19 Page 3 of 7




                                                        Exhibit E, Page 3
Case 1:19-cv-00622-CCC Document 1-6 Filed 04/10/19 Page 4 of 7




                                                        Exhibit E, Page 4
Case 1:19-cv-00622-CCC Document 1-6 Filed 04/10/19 Page 5 of 7




                                                        Exhibit E, Page 5
Case 1:19-cv-00622-CCC Document 1-6 Filed 04/10/19 Page 6 of 7




                                                        Exhibit E, Page 6
Case 1:19-cv-00622-CCC Document 1-6 Filed 04/10/19 Page 7 of 7




                                                        Exhibit E, Page 7
